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           In the United States Court of Federal Claims
                                         No. 21-1494C
                                   Filed: September 30, 2021


 SQUIRE SOLUTONS, INC.,

                    Plaintiff,

 v.

 UNITED STATES,

                   Defendant.


                                  ORDER OF JUDGMENT

        For the reasons assigned in the Memorandum Opinion filed concurrently with this Order
of Judgment, the defendant’s motion to dismiss (ECF 18) under Rule 12(b)(1) and Rule 12(b)(6)
of the Rules of the Court of Federal Claims is DENIED. The defendant’s motion for judgment
on the administrative record (ECF 18) under Rule 52.1 of the Rules of the Court of Federal
Claims is GRANTED. The plaintiff’s motion for judgment on the administrative record
(ECF 17) is DENIED.

        So that the Court may release the opinion publicly, the parties shall meet and confer and
jointly propose redactions to the Memorandum Opinion by October 14, 2021.

     The Clerk is DIRECTED to enter judgment for the defendant in accordance with the
Memorandum Opinion and this Order and to close the case. No costs are awarded.

       It is so ORDERED.

                                                                    s/ Richard A. Hertling
                                                                    Richard A. Hertling
                                                                    Judge
